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                        IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE DISTRICT OF ARIZONA
 9   Paul A. Isaacson, M.D., on behalf of
     himself and his patients, et al.,
10                                                Case No. 2:21-CV-01417-DLR
                           Plaintiffs,
11                                                INDEX OF EXHIBITS IN SUPPORT
12          v.                                    OF PLAINTIFFS’ RENEWED
                                                  MOTION FOR PRELIMINARY
13   Mark Brnovich, Attorney General of           INJUNCTION
     Arizona, in his official capacity; et al.,
14
                           Defendants.
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     Case 2:21-cv-01417-DLR Document 125-1 Filed 09/02/22 Page 2 of 2



 1                             INDEX OF EXHIBITS
 2
 3          Exhibit No.                          Description
 4
 5                          Supplemental Declaration of Eric M. Reuss, M.D.,
                 1
                            M.P.H. dated August 30, 2022
 6
 7                          Supplemental Declaration of Katherine B. Glaser,
                 2
                            M.D., M.P.H. dated August 25, 2022
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 9
                            Supplemental Declaration of Paul A. Isaacson, M.D.
                 3
10                          dated August 26, 2022
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